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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.                              Case No. 08-cr-164-01/03-SM

Juan Galan and James Bell,
      Defendants

                                    ORDER


      Defendant Bell’s motion to continue the trial is granted (document no. 31).

Trial has been rescheduled for the month of October 2009. Defendant Bell shall

file a waiver of speedy trial rights not later than July 13, 2009. On the filing of

such waiver, the continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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      Final Pretrial Conference is scheduled for October 7, 2009 at 11:30 a.m.

      Jury selection will take place on October 20, 2009 at 9:30 a.m.

      SO ORDERED.


                                     _________________________
                                     Steven J. McAuliffe
                                      Chief Judge


July 1, 2009

cc:   Daniel D. Lustenberger, Esq.
      Jeffrey S. Levin, Esq.
      Jennifer C. Davis, AUSA
      U.S. Marshal
      U.S. Probation




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